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                              CERTIFICATE OF SERVICE

      I, WILLIAM L. SHIPLEY, JR., hereby certify that I electronically filed

SUPPLEMENTAL FILING OF NEW VIDEO EVIDENCE AND ANALYSIS IN SUPPORT OF

MOTION TO RECONSIDER DETENTION with the United States District Court for the District

of Columbia by using the CM/ECF system on June 6, 2022, and served the following Counsel

on behalf of the Plaintiff UNITED STATES via CM/ECF case filing system:

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